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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                      §              CASE NO.          18-41971
                                                            §
JEREMY DARRELL ARCHER and                                   §
KRISTEN LEANN ARCHER                                        §
                                                            §
DEBTORS                                                     §              CHAPTER           7


GUARANTY BANK & TRUST, N.A.                                 §
                   Plaintiff,                               §
                                                            §
v.                                                          §              ADVERSARY NO. 18-_________
                                                            §
JEREMY ARCHER AND                                           §
KRISTEN ARCHER,                                             §
                                    Defendants.             §

                         COMPLAINT OBJECTING TO THE DEBTORS’
                      DISCHARGE AND TO THE DISCHARGE OF A DEBT

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW GUARANTY BANK & TRUST ("GB&T"), and files this Complaint

Objecting to the Debtors’ Discharge and to the Discharge of a Debt and in support would show the

Court as follows:

                                                   I. JURISDICTION

         1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1334 and 28

U.S.C. §157. This is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(I) and (J). Specifically,

this is a proceeding objecting to the discharge of a debt pursuant to 11 U.S.C. §523(a)(2)(A)and(B)

and(4) and to the Debtors’ discharge under 11 U.S.C. §727(a)(2) and (4)(A).

                                                     II. PARTIES

         2.      Plaintiff is a national banking association with its principal place of business at 100
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W. Arkansas, Mt. Pleasant, TX 75455. Plaintiff is a creditor and party in interest in the above styled

and numbered bankruptcy case

       3.      Defendant Jeremy Archer is an individual who is one of the Debtors in the above-

styled and numbered bankruptcy case and may be served at 2305 Wildwood Ln, Paris, Texas 75462.

       4.      Defendant Kristen Archer is an individual who is one of the Debtors in the above

styled and numbered bankruptcy case and may be served at 2305 Wildwood Ln, Paris, Texas 75462.

                                         III. FACT ALLEGATIONS

       5.      GB&T is the owner and holder of a Note made by Jeremy Archer and Kristen Archer

in the original amount of $48,654.61 dated July 20, 2015 (Loan No. Ending 0304, the “Archer

Note”). The Archer Note is a demand note payable in full immediately upon GB&T’s demand. All

conditions precedent for GB&T to demand payment of the Archer Note have occurred. Defendants

have defaulted on the Archer Note.

       6.      In order to secure payment of the Archer Note, Jeremy Archer executed a Commercial

Security Agreement dated July 20, 2015, as the Managing Member of ARCHCO Superior

Construction, L.L.C., (“ARCHCO”) granting GB&T a security interest in a 2010 Kearney Flatbed

Trailer (VIN ending 1022675). GB&T perfected its lien by notation on the certificate of title.

       7.      GB&T is the owner and holder of a Note made by ARCHCO in the original amount

of $181,631.81 dated April 2, 2018 (Loan No. ending 0285, the “ARCHCO Note”). The ARCHCO

Note is a demand note payable in full immediately upon GB&T’s demand. On or about May 11,

2018, GB&T accelerated all principal, interest and fees due under the ARCHCO Note and demanded

payment of the ARCHCO Note in full. ARCHCO Superior Construction, L.L.C. has defaulted on

the ARCHCO Note and failed to pay the ARCHCO Note as demanded by GB&T.


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       8.       Defendants executed personal guaranties guarantying to GB&T the full indebtedness

due GB&T under the ARCHCO Note. Defendants have breached the guaranties by failing to pay

GB&T the balances due on the ARCHCO Note. All conditions precedent to demand payment of the

guaranties have occurred.

       9.       In order to secure payment of the ARCHCO Note: (a) Defendant Jeremy Archer

executed a Commercial Security Agreement dated April 2, 2018, granting GB&T a security interest

in a 2013 Cargo Trailer (VIN ending 014953) and a 2014 Kawasaki MV (VIN ending 100115) and

a second Commercial Security Agreement dated the same date granting GB&T a security interest

in a New Holland Tractor (Serial Number ending 20000); (b) Defendant Kristen Archer executed

a Commercial Security Agreement dated April 2, 2018, granting GB&T a security interest in a 1996

FEAT Trailer (VIN ending 564759) and also executed a Commercial Security Agreement dated the

same date granting GB&T a security interest in a New Holland Tractor (Serial Number ending

20000); and (c) Jeremy Archer executed a Commercial Security Agreement dated April 2, 2018, as

the Managing Member of ARCHCO Superior Construction, L.L.C., granting GB&T a security

interest in all accounts, 2013 Kawasaki MV (VIN ending 502962), 2009 Lamar Trailer (VIN ending

002176), and 2010 Kearney Flatbed trailer (VIN ending 1022675). GB&T perfected its liens by

notation on the certificates of title and by filing Financing Statements on the New Holland Tractor

and accounts.

       10.      On or about September 3, 2018, Defendants filed a voluntary petition under Chapter

7 of the United States Bankruptcy Code.

       11.      At the time the bankruptcy case was filed, the unpaid balance of the Archer Note was

$15,342.02 and the unpaid balance of the ARCHCO Note was $188,971.36. The balances continue


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to accrue interest and GB&T continues to incur expenses to enforce its rights. All conditions

precedent have been performed or have occurred, and the balances set forth above are due and

payable by Defendants.

        12.      On September 12, 2018, Defendants filed their Schedules and Statement of Financial

Affairs. The Defendants signed the Schedules and Statement of Financial Affairs, declaring under

penalty of perjury that the answers were true and correct. Defendants appeared at their creditors’

meeting in this case and testified under oath that the information in their Schedules and Statement

of Financial Affairs was true and correct. The Defendants further testified that the Schedules listed

all of their assets.

                           IV. OBJECTION TO DISCHARGE OF A DEBT

A.      OBJECTION UNDER 11 U.S.C. §523(a)(2)(A)

        13.      Defendants obtained money or an extension, renewal, or refinancing of credit from

GB&T by false pretenses, a false representation, or actual fraud, other than a statement respecting

the Defendants’ or an insider’s financial condition. Defendants represented to GB&T in connection

with the Archer Note that they and/or ARCHCO owned and were authorized to grant GB&T a

security interest in a 2010 Kearney Flatbed Trailer (VIN ending 1022675), and represented to GB&T

in connection with the ARCHCO Note that they and/or ARCHCO owned and were authorized to

grant GB&T a security interest in the 2010 Kearney Flatbed Trailer (VIN ending 1022675), and a

2013 Cargo Trailer (VIN ending 014953), 2014 Kawasaki MV (VIN ending 100115), New Holland

Tractor (Serial Number ending 20000), 1996 FEAT Trailer (VIN ending 564759), 2013 Kawasaki

MV (VIN ending 502962), and 2009 Lamar Trailer (VIN ending 002176) (the “Equipment”).

Defendants made these representations for the purpose of obtaining an extension, renewal or


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refinancing of the debt evidenced by the Archer Note and ARCHCO Note. These representations

were materially false to the extent that the Defendants and/or ARCHCO did not own and/or did not

have authority to grant a security interest in one or more pieces of the Equipment. Defendants knew

these representations were false and made them with the intent that GB&T rely upon them. GB&T

reasonably relied on these representations, which proximately caused damages to GB&T of at least

$201,313.38. The debt owed to GB&T should be excepted from discharge pursuant to 11 U.S.C.

§523(a)(2)(A).

B.     OBJECTION UNDER 11 U.S.C. §523(a)(2)(B)

       14.       Defendants obtained money or an extension, renewal, or refinancing of credit from

GB&T: (a) by use of a statement in writing; (b) that was materially false; (c) respecting the

Defendants’ or an insider’s financial condition; (d) on which GB&T, the creditor to whom the

Defendants are liable for such credit reasonably relied; and (e) that the Defendants caused to be

made or published with intent to deceive. Defendants induced GB&T to loan funds and/or renew

and extend loans to ARCHCO and Defendants by use of financial documents and account receivable

statements purporting to show that ARCHCO was a business with outstanding accounts receivable

exceeding 2.9 million dollars, when in fact, the receivables were grossly overstated and worth almost

nothing. The written statements were materially false. GB&T reasonably relied upon the financial

documents and accounts receivable statements in making and/or renewing and extending the loan

to ARCHCO. Defendants are the principals and owners of ARCHCO and benefitted from the fraud

perpetrated on GB&T. Defendants executed personal guaranties guarantying payment of the

ARCHCO Note. Defendants submitted the false financial information to GB&T with intent to

deceive GB&T and in fact deceived GB&T, proximately causing damages to GB&T of at least


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$188,971.36. The debt owed to GB&T should be excepted from discharge pursuant to 11 U.S.C.

§523(a)(2)(B).

C.        OBJECTION UNDER 11 U.S.C. §523(a)(4)

          15.        Defendants’ debt to GB&T is for fraud or defalcation while acting in a fiduciary

capacity.1 Defendants as managing members of ARCHCO owed a fiduciary duty to ARCHCO, and

to the creditors of ARCHCO upon the insolvency of ARCHCO. Defendants breached their fiduciary

duty to GB&T by failing to act in the interests of GB&T after ARCHCO became insolvent. In

particular but not by way of limitation, Defendants failed to preserve the property which secures

GB&T’s claim. Defendants consciously disregarded or were willfully blind to a substantial and

unjustifiable risk that their conduct would violate their fiduciary duty to GB&T, proximately causing

damages to GB&T of at least $188,971.36. The debt owed to GB&T should be excepted from

discharge pursuant to 11 U.S.C. §523(a)(4).

                                           V. OBJECTION TO DISCHARGE

A.        OBJECTION UNDER 11 U.S.C. §727(a)(2)

          16.        Defendants, with intent to hinder, delay, or defraud GB&T, have transferred,

removed, or concealed, or have permitted to be transferred, removed, or concealed property of the

Defendants, within one year before the date of the filing of the petition, or property of the estate after

the date of the filing of the petition. Upon information and belief, Defendants have transferred,

removed and/or concealed one or more of the pieces of Equipment. Furthermore, Defendants failed



          1
            In re Karim A. Rajabali, 365 B.R. 702 (Bankr. S.D. Texas, 2007); Carrieri v. Jobs.com Inc., 393 F.3d 508, 534, n. 24 (5th
Cir.2004) (citing Weaver v. Kellogg, 216 B.R. 563, 583–84 (S.D.Tex.1997)). Director's and officer's fiduciary duties are not directly
to creditors; rather, when a corporation is insolvent, creditors have the ability to enforce such duties which continue to exist as to the
corporation. See Floyd v. Hefner, No. H–03–5693, 2006 WL 2844245, at *10 (S.D.Tex. Sept.29, 2006)2 (citing *709 Fagan, 494
S.W.2d at 628). But see Davis v. Aetna Acceptance Co. 55 S. Ct. 151 (1934).

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to list all of their assets in their Schedules. Defendants discharge should be denied pursuant to 11

U.S.C. §727(a)(2)(A).

B.     OBJECTION UNDER 11 U.S.C. §727(a)(4)(A)

       17.     Defendants knowingly and fraudulently, in or in connection with their bankruptcy

case, made a false oath or account. The Schedules which Defendants signed under oath failed to

list all of their assets. The Statement of Financial Affairs which Defendants signed under oath

included false and misleading statements and omissions which were material. Furthermore,

Defendants testified under oath at their 341(a) creditors’ meeting that their Schedules and Statement

of Financial Affairs were true and correct, when in fact the Schedules and Statement of Financial

Affairs were not true and correct and contained material omissions. In particular, but not by way of

limitation, Defendants failed to identify property that the Defendants held for ARCHCO, property

transferred within two years prior to filing their bankruptcy petition and financial institutions and

creditors to whom they gave financial statements within two years prior to filing their bankruptcy

petition. Defendants knew that their sworn declarations and answers that they gave under oath at

the creditors’ meeting were not true and correct. Defendants discharge should be denied pursuant

to 11 U.S.C. §727(a)(4)(A).

                    VI. DAMAGES AND ATTORNEY’S FEES AND COSTS

       18.     In addition to the actual damages for which Plaintiff sues, Defendants’ conduct

entitles GB&T to recover punitive and exemplary damages, for which GB&T sues.

       19.     Plaintiff sues the Defendants jointly and severally for reasonable attorney’s fees,

expenses and costs it has incurred in preparation and trial of this case and any appeal pursuant to the

terms of the Archer Note, ARCHCO Note, the personal guaranties and Chapter 38 of the Texas Civil


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Practice and Remedies Code.

        WHEREFORE, GUARANTY BANK & TRUST prays upon trial of this case, that the Court

enter judgment against Defendants: (I) for actual damages, punitive and exemplary damages,

reasonable attorney’s fees, expenses, costs and interest as allowed by law, (ii) denying their discharge

or alternatively, denying the discharge of the debt; and (iii) for such other and further relief to which

it may be entitled.

                                                       Respectfully Submitted,

                                                       MCNALLY & PATRICK L.L.P


                                             By:      /s/ Glen Patrick
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